     Case 2:19-cv-00341-HCN-DBP Document 16 Filed 07/25/19 Page 1 of 28




Robert B. Sykes (#3180)
C. Peter Sorensen (#16728)
SYKES MCALLISTER LAW OFFICES, PLLC
311 S. State Street, Suite 240
Salt Lake City, Utah 84111
Telephone No. (801) 533-0222
bob@sykesmcallisterlaw.com
pete@sykesmcallisterlaw.com
Attorneys for Plaintiffs

 _____________________________________________________________________________

                                 UNITED STATES DISTRICT COURT

                                       DISTRICT OF UTAH



  AARON JAMES and TIFFANY JAMES,
  Heirs and Proposed Personal Representatives            PLAINTIFF’S MEMORANDUM
  of the Estate of Zane James,                                 IN OPPOSITION
                                                              TO DEFENDANTS’
                   Plaintiffs,                              MOTION TO DISMISS

           vs.                                            ~ Oral Argument Requested ~

  CASEY DAVIES, and COTTONWOOD                                 Civil No. 2:19-cv-341
  HEIGHTS,
                                                           Judge Howard C. Nielson, Jr.
                   Defendants.                            Magistrate Judge Dustin B. Pead



                 This Response addresses Defendants’ Motion to Dismiss, Doc. 9, filed on June 18,

2019. Defendants and the Court granted Plaintiffs an extension to answer until July 25, 2019.

Doc. 14.

                                        BACKGROUND

                 On May 29, 2018, at around 6:00 am, Zane James was riding his motorbike home

from a robbery he had just committed. Doc. 2, ¶ 10. As he passed a Cottonwood Heights Police


                                                 1
      Case 2:19-cv-00341-HCN-DBP Document 16 Filed 07/25/19 Page 2 of 28




Department (CHPD) vehicle, Officer Betenson recognized Zane from another recent chase and

began to pursue him. Doc. 2, ¶ 53. Eventually Officer Betenson gave up the chase. Doc. 2, ¶ 53.

                                          Casey Davies

               Officer Casey Davies was on his way into work that morning when he heard the

call over his radio that there was a fleeing suspect on a motorbike. Doc. 2, ¶¶ 52-53. Instead of

continuing to the police station, Davies began a pursuit of Zane which ended when Zane crashed

his bike. Doc. 2, ¶¶ 24, 55. Zane got up and was limping away when, without warning or

provocation, Davies shot him twice in the back at close range, from about 25-30 feet away. Doc.

2, ¶¶ 28, 38-40, 66.

               Defendant Davies claims in his motion that his shooting of Zane James was justified

because Zane presented an immediate danger to Davies and others. Doc. 9, p. 9. However, the

facts pled in the Complaint, and deemed admitted in a Motion to Dismiss, establish that the

shooting was not justified because Zane was running away, had no weapon in his hands when he

was shot, and presented no immediate danger to anyone. Doc. 2, ¶¶60-62. The facts as alleged by

Plaintiffs are plausible and believable. Defendants claim alternate facts. Therefore, there is a

conflict in the facts alleged between the parties. Accordingly, claims against Defendant Davies

should not be dismissed.

                                      Cottonwood Heights

               Defendant Cottonwood Heights claims immunity from liability because no specific

policies were stated in the Complaint which caused a violation of Zane’s constitutional rights. The

policies and practices in place have been largely inaccessible to Plaintiffs’ counsel, so some




                                                2
      Case 2:19-cv-00341-HCN-DBP Document 16 Filed 07/25/19 Page 3 of 28




discovery is necessary in order to obtain those. 1 Therefore, claims against Cottonwood Heights

should not be dismissed.

                 Furthermore, by introducing new evidence in the Motion to Dismiss, Defendants

have converted the motion into one for summary judgment. Summary judgment should be denied

because witness testimony disputes several facts which are material to this case. Doc. 2, ¶60.

                        KEY FACTS RELEVANT TO THIS OPPOSITION

                 1.       On May 29, 2018, at around 6:00 am, Zane James entered a store with a

realistic-looking airsoft gun (a toy gun) and proceeded to rob the establishment. Doc. 2, ¶ 20.

                 2.       While on his way home Zane was pursued by two officers, Betenson and

Davies. Doc. 2, ¶ 53.

                 3.       Before Zane reached home, he crashed his motorbike in a suburban

neighborhood while making a turn, severely injuring himself. Afterward, he got up and tried to

limp away. Doc. 2, ¶¶ 25-28.

                 4.       Once Zane had limped a short distance, Officer Davies pulled up behind

him, exited his car, ducked behind the door, and fired four shots at Zane’s back. Doc. 2, ¶ 35.

                 5.       Officer Davies was 25-30 feet away from Zane when he fired. Doc. 2, ¶ 66.

                 6.       Officer Davies did not give any warning or opportunity for Zane to stop

before he fired. Doc. 2, ¶ 64.

                 7.       One bullet entered Zane’s left shoulder and severed his spine. Another

bullet struck his left thigh, and the other two bullets missed. Doc. 2, ¶¶ 37-40.




1
  Plaintiffs did receive a copy of the Policies and Procedures on 07/18/19 in response to a GRAMA request. However,
Plaintiffs’ counsel has not yet had an opportunity to review them in depth and does not know if they are complete.
                                                        3
      Case 2:19-cv-00341-HCN-DBP Document 16 Filed 07/25/19 Page 4 of 28




               8.       When Zane was shot, he was limping away from Davies and his back was

turned. Doc. 2, ¶ 34.

               9.       When Zane was shot, he did not have a weapon in his hands. His airsoft gun

was tucked away inside his pocket. Doc. 2, ¶ 29.

               10.      Neither officer had an active lapel camera at the time of the shooting. Doc.

2, ¶¶ 57-58.

               11.      Officer Betenson did not arrive on the scene until after the fourth shot was

fired. Doc. 2, ¶ 60.

                12.     Zane was paralyzed and rendered quadriplegic by one of the bullets. He died

three (3) days later. Doc. 2, ¶¶ 77, 96.

                13.     At least one eye witness affirmed that at the time of the shooting, a) Zane

had no visible weapon; b) Davies shot Zane in the back as he was running away; c) no warning or

opportunity to stop was given by any officer; d) no citizens or officers were nearby or in danger

from Zane; e) Zane never yelled any threats at officers; f) Zane appeared to be injured as he ran;

g) no officer said “stop or I’ll shoot”; and h) Officer Betenson, an alleged witness, actually arrived

at the scene late, just as Davies fired his fourth shot. Doc. 2, ¶60.

                                    STANDARD OF REVIEW

               On a motion to dismiss under Fed. R. Civ. P. 12(b)(6), the facts asserted in the

complaint must be taken as true. See, e.g., Mayfield v. Bethards, 826 F.3d 1252, 1255 (10th Cir.

2016). In order to survive the motion, the facts in the complaint must be sufficient to establish “a

claim to relief that is plausible on its face.” Dorf v. Bjorklund, 531 F. App’x 836, 837 (10th Cir.

2013). However, Rule 12(d) states that if “matters outside the pleadings are presented to and not


                                                  4
      Case 2:19-cv-00341-HCN-DBP Document 16 Filed 07/25/19 Page 5 of 28




excluded by the court, the motion must be treated as one for summary judgment.” Fed. R. Civ. P.

12(d).

               In the “Background” section of the Motion to Dismiss, Defendants included a

photograph of the airsoft gun that Zane James had in his possession at the time of his death. Doc.

9, p. 3. Despite Defendants’ claim that the photograph is not offered as evidence, the photograph

is not contained in the Complaint. Id. The Complaint only mentions that Zane possessed a “B.B.,”

“airsoft,” or “toy” gun. Doc. 2, ¶¶ 20, 29, 81. For the purposes of a Motion to Dismiss, these

descriptors alone must be taken as true, especially because Zane did not have the gun visible or in

his hands during his encounter with Officer Davies. Id., ¶¶ 29, 60. Inclusion of a photograph

provides additional evidentiary information that is not appropriate for a Motion to Dismiss.

Additionally, there are many more “contested facts” and contested inferences advocated or set

forth by Defendants. See, Point I below for some of these. Accordingly, this Motion to Dismiss

must be denied, or converted to one for summary judgment.

               In New York Times, the Times requested the audio files from the Challenger crash

under the Freedom of Information Act. New York Times v. NASA, 920 F.2d 1002 (D.C. Cir. 1990).

A transcript had already been released and, accordingly, the court denied the Times the audio

because it found that the audio tape contained personal information beyond what was provided by

the transcript. Id. at 1005.

               Similarly, the photograph of the toy gun in Zane’s pocket provides information

beyond what was written in the Complaint. It introduces context to the description which goes

beyond the scope of the Complaint. In taking the facts of the Complaint as true, the photograph

adds additional information that is improper at this stage of the litigation unless converted under

Rule 12(d).
                                                5
      Case 2:19-cv-00341-HCN-DBP Document 16 Filed 07/25/19 Page 6 of 28




               Furthermore, it may be wise to address these issues in a motion for summary

judgment now. When claims are made under § 1983, it is commonplace for defendants to make a

motion for summary judgment. See, e.g., Tolan v. Cotton, 572 U.S. 650 (2014); King v. Hill, 615

Fed. Appx. 470 (10th Cir. 2015). Using what information is already available, it can be

demonstrated that there are clear disputes of material facts. This is unlikely to change as the parties

undertake discovery since an eye witness directly contradicts the statement given by at least one

of the officers who responded to the scene. Doc. 2, ¶¶60-62.

                                           ARGUMENT

                                              POINT I

                        ~ Defendants’ Recitation of Facts is Unreliable ~

       DEFENDANTS CITE, REFERENCE AND DESCRIBE FACTS IN THE CASE
       INACCURATELY AND UNRELIABLY, SO AS TO LEAVE FALSE
       IMPRESSIONS ABOUT WHAT THE COMPLAINT SAYS. THE COURT
       SHOULD DISREGARD SUCH INACCURATE CITATIONS OF THE FACTS.

               On a motion to dismiss, the court is required to take well-pled facts as true and

show that defendants should still prevail despite these well-pled, true facts. Dorf v. Bjorklund, 531

F.App’x 836, 837 (10th Cir. 2013). Instead, Defendants here repeatedly mischaracterize and

misstate the facts, leaving inaccurate and false impressions about what Plaintiffs’ well-pled facts

actually are. Defendants then argue against these weakened, inaccurate and false characterizations

of Plaintiffs’ facts, trying to show that Defendants should prevail on their Motion to Dismiss. The

Court should reject such a strawman approach as inconsistent with the law on motions to dismiss.

Defendants are never permitted to mischaracterize the facts as alleged by plaintiffs. They are

required to accept them. Mayfield v. Bethards, 826 F.3d 1252, 1255 (10th Cir. 2016).



                                                  6
      Case 2:19-cv-00341-HCN-DBP Document 16 Filed 07/25/19 Page 7 of 28




               There are many instances of mischaracterization.             The most important

mischaracterization is Defendants’ claim that it is somehow admitted that Davies shot Zane in the

back because he feared for his safety and the safety of nearby residents. Defendants cite

paragraphs from the Complaint which they claim support this contested supposition. The Court

should reject this approach.

               Defendants mischaracterize the Salt Lake District Attorney’s Office declination to

file criminal charges against Defendant Davies. Defendants claim it was “on the basis he could

likely show he feared he was in imminent danger of serious bodily injury or death at the time of

the shooting.” Doc. 9, pp. 1-2, citing the Complaint, Doc. 2, ¶¶ 97-103. There are two problems

here. First, it may or may not be that the District Attorney declined to file criminal charges for

the stated reason that Davies believed he was in imminent danger of serious bodily injury, as

alleged by Defendants. So what. That evidence is obviously not included in Defendants’

Memorandum. It would be hearsay and it would be introducing outside evidence that would

convert the matter into a Motion for Summary Judgment. Second, Defendants mischaracterize the

Complaint, Doc. 2, ¶¶ 97-103, as the basis for the claim that Davies felt he was in imminent danger

of seriously bodily injury or death.

               That characterization is false. Paragraphs ¶¶ 97-103 say the opposite. The subtitle

for those paragraphs is “Improper and Questionable Investigation.” Paragraph 97 indicates that

there was an investigation. Paragraph 98 indicates that Officer Davies refused to answer questions

or provide a statement to investigators.       Paragraph 99 says that Davies obtained legal

representation within hours. Paragraph 100 says all other officers at the scene were interviewed

by investigators on the day of the shooting. Paragraph 101 says that Zane was shot in the back

and did not have his hands on a weapon, so a detailed investigation on justification was required.
                                                7
      Case 2:19-cv-00341-HCN-DBP Document 16 Filed 07/25/19 Page 8 of 28




               Paragraph 102 says that in the entire task force report there is essentially no mention

that Zane was shot in the back. Paragraph 103 details nine (9) criticisms of the Gill report, such

as why there were no inquiries or reports of eye-witness accounts to the shooting. Doc. 2, ¶¶ 97-

103. There is nothing in ¶¶97-103 to sustain the characterization that these paragraphs “could

likely show he feared he was in imminent danger of serious bodily injury or death at the time of

the shooting.” Doc. 9, pp. 1-2. Such a conclusion is a fabrication. Yet, this is the primary basis

for the Motion to Dismiss.

                                             POINT II

                      ~ Well-Pled Facts Show Constitutional Violations ~

               PLAINTIFFS’ CLAIMS UNDER 42 U.S.C. § 1983 SHOULD NOT BE
               DISMISSED BECAUSE THE WELL-PLED FACTS OF THE COMPLAINT
               ALLEGE    A   VIOLATION   OF    CLEARLY      ESTABLISHED
               CONSTITUTIONAL RIGHTS.

               In order to overcome qualified immunity for a police officer a two-pronged inquiry

must be made. First, the facts, “[t]aken in the light most favorable to the party asserting the injury,

[must] show the officer’s conduct violated a [federal] right.” Saucier v. Katz, 533 U.S. 194, 201

(2001). Second, that right must be “‘clearly established’ at the time of the violation.” Tolan v.

Cotton, 572 U.S. 650, 656 (2014) (quoting Hope v. Pelzer, 536 U.S. 730 (2002)). The prongs need

not be analyzed in a specific order. Pearson v. Callahan, 555 U.S. 223, 236 (2009).

               Defendants are not entitled to dismissal of the § 1983 claim because sufficient facts

have been asserted which demonstrate that Officer Davies violated Zane’s clearly established right

to be free from an unreasonable seizure. This right was clearly established at the time of the

shooting because case law existed which established precedent beyond mere generalities. See




                                                  8
      Case 2:19-cv-00341-HCN-DBP Document 16 Filed 07/25/19 Page 9 of 28




Saucier, 533 U.S. at 201. Additionally, there is a dispute of material facts so the Defendants are

not entitled to summary judgment.

               A.      Zane James’ right to be free from unreasonable seizure was clearly
                       established at the time of the shooting.

               A right is “clearly established” when the action of violating that right is such that a

reasonable person would have known that it is against the law. Tolan, 572 U.S. at 656. The

Supreme Court has held that a generalization of the law is insufficient for this prong to be

established, but rather that the inquiry “must be undertaken in light of the specific context of the

case.” Saucier, 533 U.S. at 201. However, the Court “expressly rejected a requirement that

previous cases be fundamentally similar . . . [T]he salient question . . . is whether the state of the

law . . . gave [defendants] fair warning.” Hope, 536 U.S. at 741. The question that must be asked

is whether a reasonable officer could be aware that his conduct is in violation of the law. Saucier,

533 U.S. at 201-02. It is not required to have a case with nearly identical facts, however the existing

case law must establish clear contours for the right that provide fair notice to the officer. Id. A

reasonable misunderstanding of the law is subject to immunity so the law must be sufficiently clear

as to render any misunderstanding unreasonable. Id. at 205.

               B.      Cases on point hold that deadly force is not justified where there is no
                       immediate threat to the officer or to others.

               Initially, it must be emphasized that there are no facts in the Complaint that justify

Defendants’ claim that Davies somehow “feared he was in imminent danger of serious bodily

injury or death at the time of the shooting.” Doc. 9, pp. 1-2. See discussion above in Point I. That

claim is in serious dispute. The Complaint sets forth many facts to the contrary of that conclusion.

The Complaint demonstrates that there was no immediate threat to the officer or to others. Doc.

2, ¶¶31-34, 59-62.
                                                  9
     Case 2:19-cv-00341-HCN-DBP Document 16 Filed 07/25/19 Page 10 of 28




               The law is clear that deadly force is not justified when there is no immediate threat

to the officer or others. In Tolan, the Supreme Court overturned the district court’s order for

summary judgment because the plaintiff’s version of the facts, if taken to be true, established that

Robert Tolan did not pose an immediate threat to the officers or others. Tolan, 572 U.S. at 660.

The Jameses make the same argument here, that the facts alleged by Plaintiffs in the Complaint,

when taken to be true, show that Zane did not pose an immediate threat to the officers or to others.

               In Tolan, Mr. Tolan was laying face-down on his porch at the order of two police

officers. Id. at 652. One of the officers moved to restrain Tolan’s mother. Id. at 653. Tolan

contended that the treatment of his mother was overly forceful as the bruises showed afterward.

Id. According to him and his family, Tolan rose to his knees and shouted, “Get your f***ing hands

off my mom.” Id. At that point, one of the officers shot at him three times. Id. According to the

officers’ version of the facts, Tolan had lunged toward them, or, alternatively, that they thought he

had lunged toward them because the light on the porch was too dim. Id. at 653-55. They also

argued that his statement constituted a threat. Id. Davies makes comparable claims of an alleged

threat of harm by Zane and allegedly or purportedly having his hands in his waist area where there

might be a gun. See Doc. 9, p. 11.

               But Tolan produced eye witness testimony disputing these defense “facts.” Id. at

652-53. The Court held that the dispute of facts was too substantial to be decided on summary

judgment and must go to a jury. Id. at 660 (“The witnesses on both sides come to this case with

their own perceptions, recollections, and even potential biases. It is in part for that reason that

genuine disputes [of fact] are generally resolved by juries”). Taken in the light most favorable to

the injured party, the facts asserted by the plaintiff would establish that the officer could not have


                                                 10
      Case 2:19-cv-00341-HCN-DBP Document 16 Filed 07/25/19 Page 11 of 28




reasonably believed he was in danger because Tolan was not moving toward him and was not

brandishing a weapon, nor did he threaten the officer. Id.

               Similarly, in James v. Davies, taken in a light most favorable to the Jameses, the

Jameses have alleged facts that Davies could not have reasonably believed he was in danger.

Among multiple facts that support this conclusion, the Jameses have alleged that Officer Betenson,

who claims to have seen the shooting, did not actually see the shooting and was engaged in a

cover-up. Doc. 2, ¶¶ 89-95. It is also alleged that Officer Davies provided falsehoods at the scene

and engaged in a cover-up, i.e., falsely claiming that Zane was digging through his pockets and

continued to conceal his hands. Doc. 2, ¶¶79-88. It is further alleged that a witness supported the

Jameses’ position on these matters, which is contrary to Officer Davies’ position. Doc. 2, ¶¶ 59-

66.

               There is substantial Tenth Circuit case law that supports the Jameses. In King,

police responded to a report of domestic disturbance at Mr. King’s house. King, 615 Fed. Appx.

at 471. King’s step-daughter had reported that King was making threats. Id. At the house, the

police communicated with King, who was standing on his porch with a coat draped over his arms,

from a distance of approximately 25 yards or further. Id. Officers claimed to believe that King

had a gun hidden under the coat. Id. at 472. During the interaction, King was threatening to blow

them all up with black powder he claimed to have stored in the house unless they left his property.

Id. The officers ordered King to put down whatever he had in his hands. Id. King took a step

forward and moved to display his hands to the officers when Officer Hill shot him three or four

times. Id. at 472-73.

               The district court denied summary judgment to Hill and the Tenth Circuit affirmed

because “the law was clearly established that a law enforcement officer may not use deadly force
                                                11
     Case 2:19-cv-00341-HCN-DBP Document 16 Filed 07/25/19 Page 12 of 28




to seize an unarmed person who is not posing a threat to the officer or others.” Id. at 477 (quotation

omitted). Though King was making threats, he was not in a position to immediately carry them

out. Id. King’s movement which resulted in him being shot was non-threatening, at least if

considered in the light most favorable to King. Id. Furthermore, King’s refusal to comply with

orders to drop his weapon cannot be reasonably seen as a threat considering that he was not holding

a weapon. Id.

                In yet another case, the Tenth Circuit held that conflicting witness statements create

a dispute of material facts which mandate a review by a jury, and therefore, affirmed a denial of

summary judgment. Zuchel v. Spinharney, 890 F.2d 273, 275-76 (10th Cir. 1989). There, police

responded to a disturbance which Leonard Zuchel caused at a McDonald’s restaurant. Zuchel had

left the restaurant and encountered some teenage boys by the time two officers arrived. Id. at 274.

After an argument with the boys, Zuchel had pulled some nail clippers out of his pocket which one

of the boys told the officers was a knife. Id. When Zuchel approached the officers, Officer

Spinharney shot him four times. Id.

                Nine witnesses for the defense reported that Zuchel was making verbal threats and

threatening motions as he approached the officers and that he was less than four feet away when

Spinharney shot him. Id. at 275. However, a multitude of witnesses disputed these facts. The

evidence for the plaintiff, if true, would have established that Zuchel was not a threat to the officers

and, thus, the facts had to go to a jury. Id. Therefore, summary judgment was denied.

                A district court denied summary judgment to a police defendant on an excessive

force claim because the evidence showed that Officer Smith’s use of deadly force was

unreasonable given the circumstances. Dorato v. Smith, 108 F. Supp. 3d 1064, 1069 (D.NM 2015).

Officer Smith responded to a report of a stolen car and, upon finding a parked car that matched the
                                                  12
     Case 2:19-cv-00341-HCN-DBP Document 16 Filed 07/25/19 Page 13 of 28




description, he approached the person inside. Id. at 1074-76. After announcing that he was a police

officer, he ordered Mr. Tillison to put his hands out the window. Id. Instead, Tillison put the car

in gear and backed into Smith’s cruiser, attempting to flee. Id. at 1077-1079.

               Tillison moved the car forward and stuck his right arm out the window holding his

phone. Id., 1083-84. Smith claimed he thought the phone was a gun so he shot at Tillison, hitting

him. Id. Smith argued that his use of deadly force was reasonable because Tillison could have hit

him with his car, that he thought the cell phone was a gun, and that he was responding to a

dangerous crime. Id. at 1145. The court held that a jury could reasonably conclude that use of

deadly force was excessive because the car was never directly pointed at Smith so it could not hit

him and that the weather conditions were such that he could have been able to tell that the object

in Tillison’s hand was not a gun. Id. at 1146-49.

               The Ninth Circuit similarly held in Lopez that a dispute of material facts precludes

summary judgment. Estate of Lopez v. Gelhaus, 871 F.3d 998, 1021 (9th Cir. 2017). Andy Lopez,

a thirteen-year-old boy, was walking down the sidewalk holding a toy gun resembling an AK-47

when he was noticed by two police officers on patrol. Id. at 1002. No other witnesses were present.

Id. at 1009. The toy gun was pointed toward the ground. Id. The officers pulled up behind him

and stopped the car. Id. The officers dispute as to whether or not they sounded the siren. Id. They

also dispute as to whether Andy looked over his shoulder and saw them. Id. Gelhaus opened the

door, stepped out behind it, and yelled “Drop the gun!” Id. When Andy turned, Gelhaus shot at

him eight times, hitting him with seven of the shots. Id. at 1003.

               The Ninth Circuit affirmed the district court’s denial of summary judgment. Id. at

1009. A jury must evaluate whether Andy actually pointed his gun at the officers or if he was


                                                13
     Case 2:19-cv-00341-HCN-DBP Document 16 Filed 07/25/19 Page 14 of 28




merely turning to see who yelled at him. Id. at 1021. If the latter was true, a reasonable officer

would not have perceived him as a threat. Id.

               C.      Cases holding for police defendants are distinguishable because of the
                       presence of an immediate deadly threat.

                There are a number of cases holding for police defendants that are readily

distinguishable from the facts in the Zane James case. The Court will see that in each one of these

cases, there was reasonable fear of harm by the officers because of: the presence of a gun in a

suspect’s hands; the reasonable prospects of a gun; hostile motions; the expression of threats;

threatening movements; and/or the advancing on the officer by the suspect. Most of these cases

indicate that a combination of these factors is required, not just one factor alone. The facts of the

James case are quite different than the facts of the cases below, as the Court will see.

               The Tenth Circuit affirmed an order for summary judgment in Johnson for the

police officer who shot Mr. Johnson. Johnson v. City of Roswell, 752 Fed. App. 646, 647 (10th

Cir. 2018). This opinion, though issued after the incident in James, provides helpful guidance as

to when summary judgment is appropriate in shooting cases. In this case, Johnson got into a fight

with his brother-in-law and shots were fired. Id. at 648. The brother-in-law went to the police

station and reported Johnson, at which point several officers responded to Johnson’s house. Id.

Thinking it was the brother, Johnson exited the door suddenly with gun in hand and Officer

Lannoye fired at him five times. Id. We do not have similar facts in James. In Johnson, the victim

was actually holding a gun and moving toward officers. Id. at 648. The opposite was true in James

(no gun in hand, moving away).

               In Taylor v. Salt Lake City, 2019 WL 2164098 (D. Utah May 17, 2019), three

officers responded to the dispatch of three men who flashed a gun, although no violence was

                                                 14
     Case 2:19-cv-00341-HCN-DBP Document 16 Filed 07/25/19 Page 15 of 28




reported. Id. at 3-4. Two of the three stopped but Taylor began walking away. Id. at 7. Taylor

began making digging motions in his pants. Id. at 11. When Taylor was about fifteen feet away,

he turned around and kept walking away backwards. Id. at 12. Suddenly he pulled both of his

hands out of his pants while grasping his shirt in what both officers believed was a drawing motion.

Id. In response, Officer Cruz fired two shots, striking Taylor both times and killing him. Id. It

was then discovered that Taylor did not have a gun in his possession. Id. at 16.

               As in Taylor, many courts consider an order for the suspect to stop to be an

important factor. See, e.g., Lopez, 871 F.3d at 1002. By contrast, in James there was no warning

given, no order to stop, no non-compliance, no movement toward bystanders, and no sudden

movements from his waistband. Doc. 2, ¶¶ 60, 75-76.

               These cases stand for the rule that an officer may not use deadly force against a

suspect unless they reasonably believe the suspect poses an immediate danger. Whether Davies’

alleged belief was reasonable is a question for the jury. These cases also support Plaintiffs’

position that there is a question of fact for the jury as to whether Davies’ use of deadly force met

constitutional standards.

               D.      Zane James suffered a violation of his Fourth Amendment right to be
                       free from an unreasonable seizure.

               The federal right which is violated in cases of excessive force is the Fourth

Amendment right to be free from an unreasonable seizure. Tolan, 572 U.S. at 656. To determine

whether the right was violated, the court must balance “the nature and quality of the intrusion on

the individual’s Fourth Amendment interests against the importance of the governmental interests

alleged to justify the intrusion.” Tennessee v. Garner, 471 U.S. 1, 8 (1985). Courts employ a

reasonableness standard to determine whether the seizure was justified.

                                                15
     Case 2:19-cv-00341-HCN-DBP Document 16 Filed 07/25/19 Page 16 of 28




               In cases of excessive force, courts recognize that police officers often have to make

split-second decisions whether or not to employ force when someone is in danger of attack. See

Graham v. Connor, 490 U.S. 386, 397 (1989). Thus, the reasonableness standard under the Fourth

Amendment must be analyzed from the perspective of a reasonable officer at the time force was

used, rather than in hindsight. Weigel v. Broad, 544 F.3d 1143, 1152 (10th Cir. 2008).

               In Garner, the Supreme Court outlined when it is appropriate to use deadly force

on a fleeing felon. Shooting a suspect may be justified

               if (1) the suspect threatens the officer with a weapon or there is probable cause to
               believe that he has committed a crime involving the infliction or threatened
               infliction of serious physical harm, . . . (2) if necessary to prevent escape, and if,
               (3) where feasible, some warning has been given.

Garner, 471 U.S. at 11-12 (numbering and emphasis added). Under that analysis, all three elements

must be satisfied.

               However, in Graham, the Court provided a number of non-exclusive factors to

consider when performing the analysis including “the severity of the crime at issue, whether the

suspect poses an immediate threat to the safety of the officers or others, and whether he is actively

resisting arrest or attempting to evade arrest by flight.” Graham, 490 U.S. at 396 (emphasis

added). The Tenth Circuit elaborated some additional factors which should be considered.

               These include whether the officers ordered the suspect to drop his weapon, and the
               suspect’s compliance with police commands; whether any hostile motions were
               made with the weapon towards the officers; the distance separating the officers and
               the suspect; and the manifest intentions of the suspect.

Estate of Larsen ex. rel. Sturdivan v. Murr, 511 F.3d 1255, 1260 (10th Cir. 2008) (numbering

omitted; emphasis added). These factors all collectively show that under the totality of the

circumstances, Officer Davies’ use of force was not reasonable.


                                                 16
     Case 2:19-cv-00341-HCN-DBP Document 16 Filed 07/25/19 Page 17 of 28




               E.      A reasonable officer would not have perceived a threat of serious
                       harm to himself or others.

               Defendant claims that Davies reasonably but mistakenly perceived a threat because

he was responding to an inherently dangerous crime and that Zane had placed him in a dangerous

or life-threatening situation. Doc. 9, p. 10. This is a factual supposition since Davies “refused to

make a statement to investigators about his decision to shoot Zane” (Doc. 2, ¶83), and Davies’

statements were false, as alleged in the Complaint. Doc. 2, ¶¶86, 87 (“Davies falsely claimed that

he shot Zane to death because he was worried about the threat of Zane shooting him”).

               While it is true that Zane was fleeing from an “armed robbery,” an inherently

dangerous crime, it makes no legal difference. This is only one factor in the analysis. Defendant

cites Ryder, a pre-Graham case, in which an officer was found to be justified in his shooting of a

teenage girl because she had just been involved in the theft at a restaurant. Ryder v. Topeka, 814

F.2d 1412, 1419 (10th Cir. 1987). It is probably no longer good law because Graham v. Connor

in 1989 changed the reasonableness test which is applied to excessive force. See, Mitchell v. City

of Saputpa, 857 F.2d 713, 714 (10th Cir. 1988). Each Graham factor is merely one factor in the

totality of the circumstances, including the severity of the crime. While the severity factor, armed

robbery, may weigh against Zane, it is but one factor.

               There are also pronounced factual differences in Ryder. Ryder was running away

late at night and was about to turn a corner and be lost from sight by the pursuing officer. Id. at

1416. She also had her hands in her pockets. Id. at 1421. Because it was dark and Ryder could

reasonably have created a trap for the officer, the court found that shooting her was reasonable.

               Here, by contrast, Zane was limping while it was light outside. See Doc. 2, ¶ 20.

He was not near any source of cover, and his hands were outside of his pockets. Doc. 2, ¶¶ 24, 28,

                                                17
     Case 2:19-cv-00341-HCN-DBP Document 16 Filed 07/25/19 Page 18 of 28




30. The dangers present for the officer in Ryder were not present for Officer Davies. For example,

Zane was some distance from the robbery. Doc. 2, ¶ 55. Davies saw Zane only as a fleeing suspect

and had no specific knowledge of the crime so his suspicion that Zane was armed could be found

unreasonable. “[T]he fact that [the suspect] had committed a violent crime in the immediate past

is an important factor but it is not, without more, a justification for killing him on sight.” Harris v.

Roderick, 126 F.3d 1189, 1203 (9th Cir. 1997).

               Additional factors to be considered are whether there were any hostile motions

made by Zane, the distance between Zane and Davies, and Zane’s manifest intentions. First, there

were no hostile motions. In Tolan, Mr. Tolan was shot because he rose to his knees from laying

on the ground. Tolan, 572 U.S. at 653-55. The court found that without any movement toward the

officer, hostility could not be reasonably ascertained. Id. at 660. Similarly, in King, Mr. King took

a step toward the officers from many feet away. King, 615 Fed. Appx. at 472-73. This was also

found to be an innocent step without hostile intent. Id. at 476. In our case, Zane was moving away

from Officer Davies and had his arms held to his side. Doc. 2, ¶¶ 34, 60. If hostile movement is

not found where the victim moves toward the officer, it cannot be found if Zane was moving in

the opposite direction.

               Contrast Zane James with Taylor. There, Mr. Taylor turned around to face the

officers with his hands grasping inside of his pants and suddenly drew them out of his pants.

Accordingly, the court upheld immunity for the officers because the motions Taylor was making

toward them were objectively hostile in nature. Here, no such conclusion can be drawn. Even if

Zane’s hands were inside his pocket (which they were not, Doc. 2, ¶¶86, 94), he made no effort to

turn around or to draw them out in a threatening way.


                                                  18
     Case 2:19-cv-00341-HCN-DBP Document 16 Filed 07/25/19 Page 19 of 28




                Next, the Complaint alleges that the distance between Zane and Davies was about

25-30 feet. Doc. 2, ¶ 66. This was far enough that it would have been fairly difficult for Zane to

pose a threat to Davies, especially since Davies was behind his car.

                Defendant cites Atencio v. City of Albuquerque, 2015 WL 13651179, *2 (D.N.M.),

where an officer was found to be justified in shooting a running suspect who was approaching a

neighborhood because it was likely that if the suspect made it into the neighborhood, he would

escape. However, this distance was at least ten (10) times the distance between Zane and Davies,

making escape far more probable. Id.; Doc. 2, ¶ 66.

                Finally, Zane’s manifest intentions were not hostile. It was obvious to a witness

that Zane was injured and trying to get out of the street. Doc. 2, ¶¶ 28, 60. He was limping and

was not headed toward the entrance to any house. Defendant’s speculative theories that Zane

would try to escape into a house and harm the occupants are just that: speculation. In contrast,

Plaintiff’s Complaint says the opposite. Doc. 2, ¶ 76.

                Considering the case law and the totality of the circumstances, Davies’ alleged

belief that Zane presented a danger to others was unreasonable. Davies was responding to a crime

after it had occurred. He did not give Zane a warning that he would shoot. Zane did not have a

weapon in his hands, and he did not make any hostile motions toward Davies. He was limping.

There were no bystanders nearby. A reasonable officer in the same circumstances would not have

considered Zane to be an immediate threat to himself or to bystanders. At a minimum, it is a

question of fact for a jury.




                                                19
     Case 2:19-cv-00341-HCN-DBP Document 16 Filed 07/25/19 Page 20 of 28




               F.      Deadly force was not necessary to prevent Zane from escaping
                       capture.

               Defendant claims that deadly force was necessary to prevent Zane from escaping

because lesser force would have given Zane a chance to break into one of the nearby houses and

harm the inhabitants. This is, of course, totally speculative. It is also highly improbable at 6:10

am. Defendant further argues that officers are not forced to necessarily use the least intrusive or

alternative means. The Court in Garner stated “Where the suspect poses no immediate threat to

the officer and no threat to others, the harm resulting from failing to apprehend him does not justify

the use of deadly force to do so.” Garner, 471 U.S. at 11. This case abolished the “fleeing felon

rule” and substituted the immediate threat rule. Zane was not an immediate threat to anyone.

               Garner is very similar to James. Zane was slowly limping away from his crashed

bike when Davies pulled up behind him and shot him in the back. Doc. 2, ¶ 76. The risk of Zane

getting away or entering one of the nearby houses was slim. Zane was obviously injured, and at

6:10 am, he was unlikely to get into a house. He was not limping toward the entrance of the house

nearest him. Doc. 2, ¶¶ 60-61. There were also many officers nearby, such as Betenson, only

seconds away. Doc. 2, ¶ 73. Zane had no realistic chance of escaping.

               Cordova raised arguments similar in principle to Davies’ arguments here. But the

Tenth Circuit found that the risk posed by the suspect that he would try to ram and harm drivers

on the freeway was unreasonable. Cordova v. Aragon, 569 F.3d 1183, 1190 (10th Cir. 2009), see

also Torres v. White, 685 F. Supp. 2d 1283, 1291 (D. OK. 2010). “The threat [to others] must have

been more than a mere possibility.” Id.

               Defendant here argues the “mere possibility” that Zane might enter nearby houses

and commit felonies against the inhabitants justified Officer Davies’ use of deadly force. Davies

                                                 20
     Case 2:19-cv-00341-HCN-DBP Document 16 Filed 07/25/19 Page 21 of 28




speculates that allowing Zane to “escape" would put those families at risk. Doc. 9, pg. 13. There

was no movement toward a home, nor an indication that Zane intended to enter one. Because this

risk is purely hypothetical, it fails Cordova’s reasonable standard to justify deadly force.

Additionally, Davies was no more than thirty (30) feet away from Zane, a distance he could easily

have crossed on foot before Zane got much further. Davies also knew that backup was on the way,

thus the risk of Zane escaping was non-existent. Doc. 2, ¶¶ 73-74. There was no need to use

deadly force to prevent escape or entry into a home.

               G.      The circumstances did not warrant deadly force without at least
                       warning of such force.

               Defendant claims that because a warning would have given Zane a chance to

escape, it was not feasible to give such a warning. Doc. 9, pp. 14-15. He argues that a verbal

warning was improper because Zane was already ignoring the police sirens that were pursuing

him. However, the case upon which that argument is based is not binding in this jurisdiction. See

Doc. 9, p. 14. Looking at this jurisdiction, most courts interpret Garner as requiring a verbal

warning, if feasible. See, e.g., Casey v. City of Fed. Heights, 509 F.3d 1278, 1283 (10th Cir. 2007)

(“The absence of any warning--or of facts making clear that no warning was necessary--makes the

circumstances of this case especially troubling”).

               Furthermore, the distant sirens do not constitute an adequate warning that Davies

intends to use deadly force. The sirens perhaps alerted Zane to the possibility of his arrest. But

when Zane ignored them, he was not thereby made aware of the possibility of being fatally shot.

Perhaps the situation would have been different if Zane had not crashed but kept riding away on

his bike. However, because he was injured, limping, and on foot, the situation changed. Officer

Davies had the chance to warn Zane and give him the opportunity to comply. Zane was visibly

                                                21
     Case 2:19-cv-00341-HCN-DBP Document 16 Filed 07/25/19 Page 22 of 28




injured and would probably have given up had he been presented the chance. Without the option

to comply, Zane was essentially executed.

               Zane James did not receive a warning when it was feasible to do so. Davies shot

him in the back as he was limping away. Because none of the elements provided under Garner

are established, it must be found that Davies violated Zane’s right to be free from unreasonable

seizure.

               H.      Cottonwood Heights may be held liable due to a lack of policies which,
                       had they been in practice, could have prevented Zane James’ death.

               To hold the city of Cottonwood Heights liable for the death of Zane James, it must

be shown that (1) there is a Cottonwood Heights policy or practice that is unconstitutional, and (2)

that there is a causal link between the unconstitutional policy or practice and Zane’s death. See

Bryson v. City of Oklahoma City, 627 F.3d 784, 788 (10th Cir. 2010). Defendant claims that the

pleading standard is not met because no specific practices are identified in the complaint. Doc. 9,

p. 17. However, particular practices were identified such as a lack of proper training and

supervision regarding the appropriate use of firearms. Doc. 2, ¶¶ 140-45. While this is a general

statement, it represents the lack of policies which, if in place, would serve to protect the rights of

the community. Failure to provide such training and supervision is deliberately indifferent to the

rights of the constituents the police department is meant to protect. Though the complaint is

missing specific instances where the lack of a policy caused a violation of rights, it is still early in

the course of this litigation. After some period of discovery, such instances will likely be provided

with specificity.




                                                  22
     Case 2:19-cv-00341-HCN-DBP Document 16 Filed 07/25/19 Page 23 of 28




                                             POINT III

                                          ~ State Claims ~

               PLAINTIFFS’ CLAIMS UNDER UTAH CONSTITUTION ART. 1, §§ 1, 7,
               14, AND 25 SHOULD NOT BE DISMISSED AND SUMMARY
               JUDGMENT SHOULD BE DENIED.

               A.      The Spackman test is satisfied with regard to claims against Defendant
                       Davies.

               Under Spackman v. Board of Educ. of the Box Elder County Sch. Dist., 2000 UT

87, two prongs must be satisfied in order for a plaintiff to obtain monetary damages against a

municipal employee for a constitutional violation. First, the constitutional clause must be self-

executing. Id. at ¶ 1. Second, three elements must be satisfied: there must be a flagrant violation

of a constitutional right, existing remedies must not redress their injuries, and equitable relief must

be wholly inadequate to protect their rights. Id. at ¶¶ 23-25.

               i.   Utah Constitution Art. 1, §§ 1, 7, 14, and 25, are self-executing.

               The Utah Supreme Court has explicitly established that Utah Constitution Art. 1,

§§ 1, 7, and 14 are self-executing. Spackman, 2000 UT 87, ¶ 10; Jensen v. Cunningham, 2011 UT

17, ¶¶ 62-63. Furthermore, the Court has stated that “a constitutional provision that prohibits

certain government conduct generally qualifies as a self-executing clause.” Spackman, 2000 UT

87, ¶ 8. Thus, Art. 1, § 25 is also self-executing since it prohibits the government from violating

rights that the people possess which are not enumerated in the state constitution.

               ii. Officer Davies committed a flagrant violation of Zane’s rights.

               A flagrant violation of rights has occurred when a defendant “violate[s] clearly

established constitutional rights of which a reasonable person would have known.” Spackman,

2000 UT 87, ¶ 23. This is the same standard as the clearly established prong which is required for

                                                  23
     Case 2:19-cv-00341-HCN-DBP Document 16 Filed 07/25/19 Page 24 of 28




federal § 1983 claims. The paragraphs above concerning clear establishment of the law are hereby

incorporated by reference.

                iii. There is no existing remedy and equitable relief is wholly inadequate to
                     protect Zane’s rights.

                Spackman requires that existing remedies do not redress a plaintiff’s injuries. Id. at

¶ 24. If Zane’s injuries would be fully compensated through other means, monetary damages are

not allowed. This court has ruled that damages accrued from a federal § 1983 claim are considered

as an existing remedy. Asay v. Daggett County, 2019 U.S. Dist. LEXIS 5794, 20 (D. UT). Thus,

if the damages received from the federal claim redress Zane’s injuries, no monetary damages

would be allowed for the Utah Constitutional claims. Zane was nineteen (19) years old and because

of a police officer’s bullet, he is now dead. The damages received under the federal claim of action

could never redress the injury caused to Zane and to his family. Therefore, existing remedies are

not adequate.

                Spackman likewise requires that equitable relief be wholly inadequate. Spackman,

2000 UT 87, ¶ 25. Because Zane is dead, no injunction or other form of equitable relief could

possibly serve to protect his rights.

                B.     The Kuchcinski test is satisfied with regard to claims against
                       Defendant Cottonwood Heights.

                The Utah Supreme Court outlined a test recently in Kuchcinski which is similar to

that in Spackman to establish liability for municipalities. Kuchcinski v. Box Elder County, 2019

UT 21, --- P.3d ----. The test is the same as in Spackman with the only difference being the

requirement for the “flagrant violation” element. Id. at ¶ 31. For all other elements of the test, the

above paragraphs concerning the Spackman test are hereby incorporated by reference.


                                                 24
     Case 2:19-cv-00341-HCN-DBP Document 16 Filed 07/25/19 Page 25 of 28




                Under Kuchcinski, a flagrant violation of a constitutional right is committed by a

municipality when there is “(1) the existence of a municipal policy or custom, (2) that this policy

or custom evidences a deliberate indifference to the plaintiff’s constitutional rights, and (3) that

this policy or custom was closely related to the injury.” Id. at ¶ 32. This is intentionally quite

similar to municipal liability under a federal § 1983 action. Id.

                The Complaint contains pleadings of practices which evidence deliberate

indifference to Zane’s constitutional rights by the CHPD. Doc. 2, ¶¶ 140-43. Though repeat

offenses have not yet been shown as required by Kuchcinski, it is early in the litigation and such

evidence can likely be produced after a period of discovery. Kuchcinski, ¶ 34. Furthermore, such

a policy or practice, assuming its existence, is closely related to the injury because Zane would not

have died were it not for the lack of accountability by CHPD when it comes to use of firearms

against civilians. See id. at ¶ 35.

                C.      Summary judgment should not be granted on the § 1983 claim, nor on
                        the State constitutional claims.

                The standard for summary judgment is more rigorous than the standard to avoid

dismissal under Fed. R. Civ. P. 12(b)(6). In an action under § 1367, summary judgment is improper

if there is a dispute of material facts regarding whether a constitutional right was violation and if

that right is clearly established. For the purposes of the first prong, the facts must be taken in the

light most favorable to the injured party.

                i.      Zane James’ Fourth Amendment right to be free from unreasonable
                        seizure was clearly established.

                Paragraphs above concerning clear establishment of the law are incorporated by

reference. For this prong, the standard is the same.


                                                 25
     Case 2:19-cv-00341-HCN-DBP Document 16 Filed 07/25/19 Page 26 of 28




               ii.     Considering the totality of the circumstances in the light most favorable
                       to the plaintiff, there is a dispute of material facts as to whether Zane
                       James’ Fourth Amendment right was violated.

               In order to determine whether there was a violation of Zane’s Fourth Amendment

right against unreasonable seizure, the same factors are relevant on a Motion to Dismiss as are

relevant here. The main difference is that if there is a dispute of material facts, summary judgment

is improper. Material facts are those that are dispositive to the claim. For example, material facts

here are those that are relevant to each of the Graham and Larson factors because those factors are

used to determine whether a violation of rights has occurred in situations of excessive force.

               From the materials available thus far, many of the events that occurred on May 29,

2018 are known only through an interview of Officer Betenson, because Officer Davies declined

to comment on the matter. Doc. 2, ¶¶ 83, 98. Betenson reported that he was following Zane just

behind Officer Davies and that he witnessed Zane’s crash and subsequent shooting. He stated that

after Zane crashed, he ran back past Davies’ car and then turned onto the nearby lawn because

Betenson moved his car into the way. According to Betenson, once Zane was on the lawn he began

reaching into his pockets and was running in this fashion when Davies shot him in the back.

Betenson was not wearing a body camera on the scene.

               Officer Betenson’s testimony is directly contradicted by one or more witnesses.

Doc. 2, ¶60. The witness states inter alia that Zane had no weapon and was running or limping

away. The witness also affirms that Davies gave no warning or opportunity for Zane to stop. Doc.

2, ¶60 c). No officers or citizens were nearby or in danger from Zane. Doc. 2, ¶60 d). Zane did

not yell any threats at the officers or others and appeared to be injured and limping as he ran. No

officer said, “stop or I’ll shoot.” Doc. 2, ¶60 c)-g). Most importantly, “witnesses confirm that


                                                26
     Case 2:19-cv-00341-HCN-DBP Document 16 Filed 07/25/19 Page 27 of 28




Officer Betenson arrived on scene just as Davies fired his fourth shot.” Doc. 2, ¶60 h). Therefore,

Betenson obviously could not have witnessed the things he claims to have witnessed.

               Because he was not there, Betenson could not possibly have seen the crash or the

way Zane was “running” or what he was doing with his arms. Because there is a genuine dispute

as to how Zane was acting just before he was shot by Davies, summary judgment is improper.

Zane’s objective behavior in the moments after his crash is material because the reasonableness

test, as applied to Davies, is dependent on the circumstances at the time of the shooting. If, as

Betenson states, Zane was reaching into his pockets, that vastly changes the outcome of the

analysis. Because these material facts are disputed, they must be presented to the fact-finder to

ascertain the truth behind the claims of each witness. Thus, summary judgment is improper.

               The Complaint also alleges that both Davies and Betenson gave authorities

falsehoods and participated in a cover-up. Doc. 2, ¶¶79-88 and 89-95. The bottom line is simply

this: there are multiple questions of fact at issue that make either a motion to dismiss or a motion

for summary judgment inappropriate at this time. In the alternative, time to gather sufficient

evidence through discovery is requested pursuant to Fed. R. Civ. P. 56(d).

               The Complaint includes facts sufficient to establish a valid claim under Utah

Constitution Art. 1 §§ 1, 7, 14, and 25. The facts are well-pled and they pass the tests laid out in

Spackman and Kuchcinski. Thus, it is enough to survive a Motion to Dismiss. If the Court deems

that Defendants have converted the motion to one for summary judgment, some period of

discovery is requested before considering this claim as evidence must be gathered to support this

claim. Fed. R. Civ. P. 56(d).




                                                27
     Case 2:19-cv-00341-HCN-DBP Document 16 Filed 07/25/19 Page 28 of 28




                                          CONCLUSION

               For the foregoing reasons, Defendants’ Motion to Dismiss, which is converted to a

Motion for Summary Judgment under Fed. R. Civ. P. 12(d), should be denied.

               Plaintiffs request oral argument because we feel the Court would benefit from a

face-to-face discussion of these particular issues.

               DATED this 25th day of July, 2019.

                                              SYKES MCALLISTER LAW OFFICES, PLLC

                                               /s/ Robert B. Sykes
                                              ROBERT B. SYKES
                                              C. PETER SORENSEN
                                              Attorneys for Plaintiffs




                                                 28
